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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION



 UNITED STATES OF AMERICA,
                                            Case No. 16-CR-20810-04
                 Plaintiff
                                            Honorable George Caram Steeh
 v.

 TAKATA CORPORATION,

               Defendant.


      ORDER APPOINTING ERIC D. GREEN AS SPECIAL MASTER

      THIS COURT, having been fully advised with respect hereto, finds as

follows:

      1.    On February 27, 2017, defendant Takata Corporation (“Takata”

or “Defendant”) pled guilty to one count of wire fraud in violation of 18

U.S.C. § 1343 (Doc. 23).

      2.    On the same date, the Court entered a Restitution Order (Doc.

24) requiring Takata to pay restitution in the amount of $125,000,000 to the

individuals who suffered or will suffer personal injury caused by the

malfunction of a Takata airbag inflator and who have not already resolved

their claims against Takata (the “Individual Restitution Fund”) and

$850,000,000 in restitution to auto manufacturers that purchased airbags

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with phase-stabilized ammonium nitrate inflators from Takata or any of its

subsidiaries (the “OEM Restitution Fund,” together with the Individual

Restitution Fund, the “Restitution Funds”).

      3.    Takata paid, directly and through certain of its affiliates, the

$125,000,000 (the “Amounts Paid”) for the Individual Restitution Fund on

March 29, 2017. Pursuant to the Restitution Order, Takata is to pay,

directly or through its affiliates or subsidiaries, the $850,000,000 (the

“Amounts Due”) for the OEM Restitution Fund within five days after the

closing of the currently anticipated sale, merger, acquisition, or combination

involving a transfer of control of Takata, which must occur within one year

after entry of the plea.

      4.    On June 25, 2017, Takata’s main U.S. subsidiary, TK Holdings

Inc., and certain of its affiliates commenced cases under Chapter 11 of the

Bankruptcy Code in the United States Bankruptcy Court for the District of

Delaware. The Chapter 11 cases have been jointly administered for

procedural purposes only at Case No. 17-11375 (BLS) (the “Delaware

Court”). On the same day, in coordination with the commencement of the

Chapter 11 cases, Takata, together with Takata Kyushi K.K. and Takata

Service Corporation, commenced civil rehabilitation proceedings under the




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Civil Rehabilitation Act of Japan in the 20th Department of the Civil Division

of the Tokyo District Court (the “Tokyo Court”).

      5.     As part of the Rule 11 Plea Agreement (Doc. 23), the United

States and Takata (collectively, the “Parties”) recommended that this Court

appoint a Special Master to determine the proper administration and

disbursement of the $975,000,000 in restitution monies Takata will pay in

this case.

      6.     On July 10, 2017, the Court issued a notice of intent (the

“Notice of Intent”) to appoint Eric D. Green as Special Master pursuant to

18 U.S.C. § 3664(d) (Doc. 36). The Notice of Intent addressed the

qualifications of Mr. Green, required Mr. Green to file an affidavit disclosing

whether there were any grounds for disqualification, and requested that all

parties consent in writing to the appointment of Mr. Green.

      7.     On July 11, 2017, Mr. Green filed his affidavit (Doc. 37). On

July 13 and 14, 2017, Takata and the United States consented to the

appointment of Mr. Green as Special Master (Docs. 38, 39). No objections

to the appointment of Mr. Green have been filed.

      Accordingly, IT IS HEREBY ORDERED that:




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Appointment of Special Master

      1.         Eric D. Green is hereby appointed Special Master with respect

to the custody, administration and distribution of the Restitution Funds (Mr.

Green, in such capacity, the “Special Master”).

Duties of Special Master

      2.         The Special Master shall be empowered to oversee and

administer the Restitution Funds. In connection therewith, the Special

Master is hereby authorized and directed to accomplish the following:

           (1)     receive and administer the funds paid into the Restitution
                   Funds, including the Amounts Paid and the Amounts Due;

           (2)     establish, in the Special Master’s discretion and subject to
                   court approval, one or more trusts, funds, or other
                   appropriate entities (the “Trust” or “Trusts”), such as, but not
                   limited to, one or more Qualified Settlement Funds, to
                   receive and hold the funds paid into the Restitution Funds,
                   provided that:

                   a.    any such Trust shall be established pursuant to
                         appropriate legal documentation governing the
                         formation and governance of the Trust, the investment
                         of Trust assets, the payment of Trust expenses, the
                         distribution of Trust funds to pay claimants, and any
                         other matters necessary or appropriate to carry out the
                         purpose of the Trust in accordance with the Restitution
                         Order and this Order (the “Trust Documents”), which
                         Trust Documents shall be subject to court approval;

                   b.    the Special Master, subject to court approval, shall
                         serve as or appoint one or more qualified and
                         disinterested individuals or entities to serve as trustee
                         or other manager or administrator for any such Trust
                         (the “Trustee”), provided that the Special Master may

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                          elect to serve as an adviser to the Trustee, on terms
                          consistent with the Restitution Order and this Order;

               c.         the Trust Documents shall authorize the Trustee to
                          invest funds paid into the Restitution Funds only in
                          “Permitted Investments,” which shall mean any of the
                          following investments, provided that maturities on the
                          below securities shall not exceed 365 days and all
                          rating requirements and/or percentage restrictions are
                          based on the time of purchase:

                     i.         Marketable securities issued by the U.S.
                                Government and supported by the full faith and
                                credit of the U.S. Treasury, either by statute or
                                an opinion of the Attorney General of the United
                                States;

                    ii.         Marketable debt securities, rated AAA by
                                Moody’s and/ or AAA by S&P, issued by U.S.
                                Government-sponsored enterprises, U.S.
                                Federal agencies, U.S. Federal financing banks,
                                and international institutions whose capital stock
                                has been subscribed for by the United States;
                                and

                    iii.        Certificates of Deposit, Time Deposits, and
                                Bankers Acceptances of any bank or trust
                                company incorporated under the laws of the
                                United States or any state, provided that, at the
                                date of acquisition, such investment, and/or the
                                commercial paper or other short term debt
                                obligation of such bank or trust company has a
                                short-term credit rating or ratings from Moody’s
                                and/or S&P, each at least P-1 or A-1; and

               d.         the Court shall retain continuing jurisdiction over all
                          matters related to any such Trust.

         (3)   establish procedures (the “Claims Allowance Procedures”),
               subject to court approval, to determine eligible claimants and
               the amount of loss eligible for compensation from the


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                   Restitution Funds (“Allowed Claims”), including provisions
                   governing notice to potential claimants, the process for
                   submission, proof and allowance of claims, the evaluation of
                   each claim by the Special Master, and the manner in which
                   the Special Master shall interact with potential claimants and
                   others in the evaluation, determination and payment of
                   Allowed Claims;

           (4)     develop a formula or formulas, subject to court approval, for
                   distributing funds to eligible claimants, both present and
                   future, taking into consideration, among other things, the
                   type and amount of loss incurred, and accounting for
                   differences among claimants in the harm suffered;

           (5)     make determinations regarding Allowed Claims, as
                   determined in accordance with the Claims Allowance
                   Procedures;

           (6)     recommend to the Court, for the Court’s approval, the
                   distribution of funds from the Individual Restitution Fund and
                   the OEM Restitution Fund; and

           (7)     establish procedures, subject to court approval, for the
                   prompt payment of distributions from the Restitution Funds
                   to claimants.

      3.         Paragraph 7.iii of the Restitution Order is hereby amended and

replaced as follows: The Special Master shall propose appropriate

procedures necessary to carry out the foregoing duties to the Court no later

than 90 days after the date of this appointment Order, unless such date is

extended by the Court upon the request of the Special Master.

      4.         The Special Master shall report to the Court every 60 days, or

as otherwise directed by the Court, commencing 60 days after entry of this

Order, regarding the status of the Special Master’s work to date,


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anticipated future efforts, and any matters the Special Master believes

require the Court’s attention.

      5.    In performing the foregoing duties, the Special Master may

retain, subject to court approval, professionals and agents to assist the

Special Master in carrying out such duties, including without limitation,

counsel; one or more economists or other experts to assist with economic

modeling and related work; a claims-administration firm; and one or more

financial advisors to provide advice with respect to the investment of Trust

assets. The Special Master is authorized to seek court approval of any

such retention on an ex parte basis. The Special Master shall use best

efforts to monitor and coordinate the respective duties of the retained

professionals and agents so as to prevent duplication of services whenever

possible.

      6.    In executing the duties stated above, the Special Master may

communicate ex parte with the Court or with any of the parties, without any

obligation to provide notice to the parties with respect to ex parte

communications with the Court or the other party with respect to

communications with the other party.




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      7.     The Defendant shall promptly provide the Special Master all

non-privileged and non-work product documentary materials and

testimonial information reasonably requested by the Special Master.

      8.     The Special Master may apply to the Court for such other relief

as the Special Master may from time to time determine to be necessary

and appropriate to carry out the foregoing duties.

      9.     The Special Master is further authorized to apply to any court,

tribunal, regulatory or administrative body, wherever located, for the

recognition of this Order and for assistance in carrying out the terms of this

Order.

Compensation

      10.    The terms under which the Special Master shall be

compensated for all costs, fees, and expenses incurred in carrying out the

duties assigned under this Order, including the costs, fees, and expenses

of any professionals or agents retained by the Special Master pursuant to

paragraph B.5 of this Order, shall be in an engagement letter (the

“Engagement Letter”) negotiated between Takata and the Special Master,

and subject to court approval, which may be sought on an ex parte basis.

Takata shall pay, directly, or indirectly through its affiliates, in full these

costs, fees, and expenses separate and apart from the Individual



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Restitution Fund and the OEM Restitution Fund, without diminishing the

monies available to claimants under such funds to pay restitution.

      11.   Within 10 days of entry of this Order, which time may be

extended without approval of the Court to the extent necessary to obtain

approvals, if required, from either the Delaware Court or the Tokyo Court to

make the payments described pursuant to this Order, which approvals shall

be promptly sought by Takata, Takata shall pay, or cause to be paid,

$400,000 (the “Advance”) to the Special Master, which the Special Master

shall hold on deposit as an advance for services rendered in connection

with his appointment as Special Master. The Engagement Letter may also

allow for the payment of a retainer to the Special Master, but any such

retainer amount will include the $400,000 to be paid under this paragraph.

Other Matters

      12.   As an agent and officer of the Court, the Special Master and his

partners, employees, agents, and professionals engaged by him in

connection with the discharge of his duties and responsibilities hereunder

shall enjoy the same protections from being compelled to give testimony

and from liability for damages as those enjoyed by other federal judicial

officers performing similar functions.




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       13.   At the Special Master’s request, the Defendant shall indemnify

 and hold harmless the Special Master, and any of his partners, employees,

 agents, and professionals engaged by him in connection with the discharge

 of his duties and responsibilities hereunder (together with the Special

 Master, the “Indemnified Parties”), with respect to any or all claims, rights

 and causes of action based upon acts or omissions under authority of this

 Order, unless the Court finds that the Indemnified Parties engaged in fraud

 or willful malfeasance. The Defendant shall further indemnify the

 Indemnified Parties for, and advance reasonable costs and attorneys’ fees

 in defending against, any claims against the Indemnified Parties based

 upon acts or omissions committed under authority of this Order. In

 addition, at the Special Master’s request, the Defendant shall reimburse the

 Special Master for the cost of an insurance policy with respect to his

 appointment as Special Master, provided that such insurance policy is the

 first source of coverage of any liability claim or costs related thereto for the

 Special Master, rather than the indemnity provided for in this Order.

       14.   As set forth in the Restitution Order, the Special Master may

 request a reasonable extension of the date in which any funds remaining in

 the Individual Restitution Fund shall be paid to the United States in light of

 unresolved or anticipated claims, as circumstances warrant.



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       15.   This Order is subject to amendment by the Court sua sponte or

 upon application by the Special Master or either party.

       16.   This Court retains jurisdiction over all matters covered by, or

 related to, this Order.

 SO ORDERED.

 Dated: July 31, 2017


                                            s/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE

                                 CERTIFICATE OF SERVICE

                  Copies of this Order were served upon attorneys of record on
                       July 31, 2017, by electronic and/or ordinary mail.

                                     s/Marcia Beauchemin
                                         Deputy Clerk




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